






Opinion issued August 8, 2002













In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00723-CR

____________


NOLAN WALLACE HEAD, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the 183rd District Court

Harris County, Texas

Trial Court Cause No. 887235






MEMORANDUM  OPINION

	We are without jurisdiction to entertain this appeal.  Appellant was
sentenced in this case on May 23, 2002.  No motion for new trial was filed.  The
deadline for filing notice of appeal was therefore Monday, June 24, 2002, because the
thirtieth day after sentencing fell on a weekend.  Tex. R. App. P. 4.1(a), 26.2(a)(1).

	Notice of appeal was deposited in the mail on June 25, 2002, according to
the postmark on the copy of the envelope included in the clerk's record.  Because the
notice of appeal was mailed after the filing deadline, it did not comply with Rule 9.2
of the Texas Rules of Appellate Procedure, the "mailbox rule."  See Tex. R. App. P.
9.2(b).  Although the notice of appeal was filed within the 15-day time period for
filing a motion for extension of time to file notice of appeal, no such motion for
extension of time was filed.  See Tex. R. App. P. 26.3.

	We therefore dismiss the appeal for lack of jurisdiction.  Slaton v. State, 981
S.W.2d 208, 209-10 (Tex. Crim. App. 1998); Olivo v. State, 918 S.W.2d 519, 522
(Tex. Crim. App. 1996).

	It is so ORDERED.

PER CURIAM

Panel consists of Justices Hedges, Jennings, and Keyes.

Do not publish.  Tex. R. App. P. 47.


